         Case 1:15-cv-10686-LTS Document 109 Filed 11/27/17 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

IN THE MATTER OF                              )
GORDON E. PARRY, JR., as Owner of             )
2003 Chaparral Signature 280 cabin cruiser,   )            CIVIL ACTION
MS-2594-AJ, HIN-FGBA0331F203,                 )            NO.: 15-10686-LTS
For Exoneration from or Limitation of         )
Liability.                                    )

                 NOTICE OF APPEARANCE OF DAVID S. SMITH, ESQ.

        Kindly enter the appearance of undersigned counsel on behalf of plaintiff Gordon E.
Parry, Jr. in the above captioned matter.

                                                    Respectfully submitted

                                                    /s/ David S. Smith
                                                    _______________________
                                                    David S. Smith, Esq.
                                                    BBO No.: 634865
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                                                    978-744-8918
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                                 CERTIFICATE OF SERVICE
      I, David S. Smith, hereby certify that I caused to have served a copy of the foregoing
document upon all parties of record utilizing the ECF system this 27 th day of November 2017.

                                                    /s/ David S. Smith
                                                    David S. Smith
